                                Case 18-14683-leb        Doc 97       Entered 08/21/18 20:03:22            Page 1 of 2


                      1     GARMAN TURNER GORDON LLP
                            WILLIAM M. NOALL
                      2     Nevada Bar No. 3549
                            E-mail: wnoall@gtg.legal
                      3
                            GABRIELLE A. HAMM
                      4     Nevada Bar No. 11588
                            E-mail: ghamm@gtg.legal
                      5     MARK M. WEISENMILLER
                            Nevada Bar No. 12128
                      6     E-mail: mweisenmiller@gtg.legal
                            650 White Drive, Suite 100
                      7
                            Las Vegas, Nevada 89119
                      8     Telephone (725) 777-3000
                            Facsimile (725) 777-3112
                      9     Attorneys for Debtors
                    10                                   UNITED STATES BANKRUPTCY COURT
                    11                                        FOR THE DISTRICT OF NEVADA
                    12      In re:                                                    Case No.: BK-S-18-14683-leb
                    13                                                                Chapter 11
                            GUMP’S HOLDINGS, LLC
                    14                                                                Jointly administered with:
                                     Affects this Debtor.
                    15
                                                                                      No. BK-S-14684 (In re Gump’s Corp.)
                                     Affects all Debtors.
                    16                                                                No. BK-S-14685 (In re Gump’s By Mail, Inc.)
                    17               Affects Gump’s Corp.
                    18                                                                Hearing Date: N/A
                                     Affects Gump’s By Mail, Inc.                     Hearing Time: N/A
                    19

                    20           ATTORNEY INFORMATION SHEET IN SUPPORT OF EX PARTE APPLICATION
                                         FOR ORDER SHORTENING TIME TO HEAR MOTIONS
                    21

                    22               As required by Local Rule1 9006, William M. Noall, Esq. of Garman Turner Gordon LLP,

                    23      counsel for Gump’s Holdings, LLC, Gump’s Corp., and Gump’s By Mail, Inc. (collectively,

                    24      “Debtors”), debtors and debtors-in-possession, has contacted the parties listed below regarding the

                    25

                    26
                            1
                    27       Unless otherwise stated, all “Chapter” and “Section” references are to Title 11 of the U.S. Code (the “Bankruptcy
                            Code”); all “Bankruptcy Rule” references are to the Federal Rules of Bankruptcy Procedure; and all references to
                    28      “Local Rule” are to the Local Rules of Bankruptcy Practice for the U.S. District Court for the District of Nevada.

Garman Turner Gordon
 650 White Dr., Suite 100
Las Vegas, Nevada 89119
     (725) 777-3000

                            4826-7522-4432, v. 1
                                Case 18-14683-leb        Doc 97       Entered 08/21/18 20:03:22             Page 2 of 2


                      1     proposed order shortening time to hear Debtors’ Motions.2

                      2                The parties listed below agree and disagree to the time being shortened, as indicated below:

                      3         Name                                      Date Contacted                   Agree             Disagree

                      4         Edward M. McDonald, Jr.                   August 16, 2018 by               X
                                For the Office of the United States       telephone
                      5         Trustee for the District of Nevada
                      6
                                Judith W. Ross & Jessica Lewis            August 17, 2018 by               X
                      7
                                For Sterling Business Credit, LLC         telephone
                      8
                                                                          August 15, 2018 by               X
                      9         Michael St. James
                                                                          email
                                For Seaker & Sons
                    10

                    11          Steven Fox                                August 21, 2018 by               X
                                For Contractual Joint Venture             email
                    12          Formed by Hilco Merchant
                                Resources, LLC and
                    13
                                Gordon Brothers Retail
                    14          Partners, LLC

                    15          Samuel Schwartz                           August 21, 2018                                    X
                                Proposed counsel for the Official
                    16          Unsecured Creditors Committee
                    17

                    18                 DATED: August 21, 2018.
                    19                                                           GARMAN TURNER GORDON LLP
                    20

                    21                                                           By: /s/ William M. Noall
                                                                                 WILLIAM M. NOALL
                    22                                                           GABRIELLE A. HAMM
                                                                                 MARK M. WEISENMILLER
                    23
                                                                                 650 White Drive, Suite 100
                    24                                                           Las Vegas, Nevada 89119
                                                                                 Attorneys for Debtors
                    25

                    26

                    27      2
                             “Motions” is defined in the Ex Parte Application for Order Shorting Time to Hear Motions (the “Application”) filed
                    28      herewith.

Garman Turner Gordon
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Las Vegas, Nevada 89119
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                            4826-7522-4432, v. 1
